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                         UNITED STATES DISTRICT COURT
                                              for the
                                  District of Massachusetts


 JOSE MARIA DECASTRO, an individual                )   Case No. 1:22-cv-11421
                                                   )
 Plaintiff,                                        )   SECOND SUPPLEMENTAL
                                                   )   COMPLAINT
 v.                                                )
                                                   )   (Leave to file granted on 1/12/2023)
 JOSHUA ABRAMS, an individual,                     )
 KATE PETER, an individual,                        )
 JOHN DOES 1-50,                                   )
 YOUTUBE (GOOGLE LLC), a corporation,              )
 JOHN DOES 1-20, individuals,                      )
                                                   )
 Defendants.                                       )
 ____________________________________              )



                               SUPPLEMENTAL COMPLAINT


      Pursuant to Fed. R. Civ. P. 15(d), plaintiff Jose DeCastro (“Plaintiff”) hereby files this

second supplemental complaint to its First Amended Complaint (ECF No. 62) (“FAC”), and

Supplemental Complaint (ECF No. 79), in connection with its federal claim of copyright

infringement. This supplement adds new claims, for events that have occurred since the filing of

the FAC. Further, Plaintiff supplements facts and copyrighted works (“Works”) and alleges as

follows:

                                        INTRODUCTION

       1. Since the filing of the FAC and Supplemental Complaint, all Defendants including

unknown ones, have committed additional copyright and DMCA violations against Plaintiff.
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                                FACTUAL BACKGROUND

     2. URLs of Plaintiff’s new copyrighted content since the first supplemental complaint are

in Exhibit 1.

                             SUPPLEMENTAL TO COUNT 1

                             (COPYRIGHT INFRINGEMENT)

     3. Infringements of my copyrighted works have been published, including, but not limited

to, at the following URLs. Against All Defendants.

     https://www.youtube.com/watch?v=-hKc-cHQPYY
     https://www.youtube.com/watch?v=y5LCwhwjwJ0&t
     https://www.youtube.com/watch?v=ajPcju3GtF8
     https://www.youtube.com/watch?v=iQD3VemilPY
     https://www.youtube.com/watch?v=JvpZ7G2cGj4
     https://www.youtube.com/watch?v=TNgRK42aAfE
     https://www.youtube.com/watch?v=m_IOV5TShHM
     https://www.youtube.com/watch?v=6gCqfKmixOs
     https://www.youtube.com/watch?v=KpEZhUQf_Cw
     https://www.youtube.com/watch?v=09odoxysZes
     https://www.youtube.com/watch?v=_HMwbWHicIo
     https://www.youtube.com/watch?v=mMoQfRrwwss
     https://www.youtube.com/watch?v=FtvOs64did4
     https://www.youtube.com/watch?v=aGTy6dffVEg
     https://www.youtube.com/watch?v=jgBhLZXwpbo
     https://www.youtube.com/watch?v=4X1lqBWVYPc
     https://www.youtube.com/watch?v=S543WJt7fLY
     https://www.youtube.com/watch?v=WRXLHRtkya8
     https://www.youtube.com/watch?v=0wRv05Vxoeg
     https://www.youtube.com/watch?v=C_ocJfvX3lQ
     https://www.youtube.com/watch?v=PYSVEQ1JW4c
     https://www.youtube.com/watch?v=9f8UaSIQXIg
     https://www.youtube.com/watch?v=KGdlNlZooZY
     https://www.youtube.com/watch?v=S-NdYKLdYj8
     https://www.youtube.com/watch?v=Qyg9PsI6vY0
     https://www.youtube.com/watch?v=GFYz1VloS9U
     https://www.youtube.com/watch?v=2-7eQ90QwR8
     https://www.youtube.com/watch?v=8IfwmYfyiCo
     https://www.youtube.com/watch?v=sGnHT3xyt08
     https://www.youtube.com/watch?v=aCV2aVDgYXQ




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                                   CERTIFICATE OF SERVICE

       I hereby certify that this document filed through the CM/ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing.


Dated: April 24, 2023                                Respectfully submitted,

                                                     /s/ Jose DeCastro
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                                                     Santa Monica, CA 90404
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                                                     Pro Se




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